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UNITED STATES DISTRICT COURT
FOR THE DISTRICT ()F DELAWARE

ALLAN FRANK, ` ease No.=
Plaintiff, COMPLAINT AND DEMAND FOR
JURY TRIAL
v.
(Unlawfui Debt Collection Practices)
PHILLIPS & COHEN
ASSOCIATES, LTD.

Defendant.

 

 

 

COMPLAINT

COMES NOW the Plaintiff, ALLAN FRANK, by and through his attorney,
KATE SHUMAKER, and for his Cornplaint against the Defendant, PHILLIPS &
COI“IEN ASSOCIATES, LTD., Plaintiff alleges the following:

JURJ§PICTION AND VENUE

l. Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d),
Which states that such actions may be brought and heard before “any appropriate
United States district court Without regard to the amount in controversy,” and 28
U.S.C. § 1331 grants this court original jurisdiction of all civil actions arising
under the laws of the United States.
2. Defendant conducts business in the state of Delaware, and therefore,

personal jurisdiction is established

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PLAIN'I`IFF’S COMPLAINT

 

 

 

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3. Venue is proper pursuant to 28 U.S.C. § 1391(b)(1).

4. This is an action for actual and statutory damages for violations of the
Fair Debt Collection Practices Act (hereinafter the “FDCPA”), 15 U.S.C. §§ 1692
et seq.

PARTIES

5. Plaintiff is an adult individual who resides at 24 Old State Road 67 in
Oxford, Connecticut 06478.

6. Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3), as he is a
natural person allegedly obligated to pay a debt

7. At all relevant times, Defendant acted as a “debt collector” within the
meaning of 15 U.S.C. § 1692a(6), in that it held itself out to be a company
collecting a consumer debt allegedly owed by Plaintiff to Aspire Card in the
amount of Whieh Defendant has claimed to be $2,187.53.

8. Defendant is a national debt collection company with its principal
place of business at 1002 Justison Street in Wilmington, Delaware 19801.

9. Defendant acted through its agents, employees, officers, members,
directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,

representatives and insurers

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PLAINTIFF’S COMPLAINT

 

 

 

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PRELIMINARY STATEMENT

10. The Fair Debt Collection Practices Act (“FDCPA”) is a
comprehensive statute which prohibits a catalog of activities in connection with the
collection of debts by third parties. §§§ 15 U.S.C. §§ 1692 et seq. The FDCPA
imposes civil liability on any person or entity that violates its provisions, and
establishes general standards of debt collector conduct, defines abuse, and provides
for specific consumer rights. 15 U.S.C. § 1692k. The operative provisions of the
FDCPA declare certain rights to be provided to or claimed by debtors, forbid
deceitful and misleading practices, prohibit harassing and abusive tactics, and
proscribe unfair or unconscionable conduct, both generally and in a specific list 01
disapproved practices
ll. ln particular, the FDCPA broadly enumerates several practices
considered contrary to its stated purpose, and forbids debt collectors from taking
such action. The substantive heart of the FDCPA lies in three broad prohibitions
First, a “debt collector may not engage in any conduct the natural consequence of
which is to harass, oppress, or abuse any person in connection with the collection
of a debt.” 15 U.S.C. § 1692di Second, a “debt collector may not use any false,
deceptive, or misleading representation or means in connection with the collection
of any debt.” 151U.S.C. § 1692e. And third, a “debt collector may not use unfair
or unconscionable means to collect or attempt to collect any debt.”

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PLAINTIFF’S COMPLAENT

 

 

 

 

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15 U.S.C. § 1692f. The FDCPA is designed to protect consumers from
unscrupulous collectors, whether or not there exists a valid debt, broadly prohibits
unfair or unconscionable collection methods, conduct Which harasses, oppresses or
abuses any debtor, and any false, deceptive or misleading statements in connection
with the collection of a debt.

12. ln enacting the FDCPA, the United States Congress found that “[t]here
is abundant evidence of the use of abusive, deceptive, and unfair debt collection
practices by many debt collectors,” which “contribute to the number of personal
bankruptcies, to marital instability,_ to the loss of jobs, and to invasions of
individual privacy.” 15 U.S.C. § 1692a. Congress additionally found existing
laws and procedures for redressing debt collection injuries to be inadequate to
protect consumers 15 U.S.C. § 1692b.

13. Congress enacted the FDCPA to regulate the collection of consumer
debts by debt collectors. The express purposes of the FDCPA are to “elirninate
abusive debt collection practices by debt collectors, to insure that debt collectors
who refrain from using abusive debt collection practices are not competitively
disadvantaged, and to promote consistent State action to protect consumers against

debt collection abuses.” 15 U.S.C. § l692e.

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PLAINTIFF’S COMPLAINT

 

 

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FACTUAL ALLEGATIONS
14. At all pertinent times hereto, Defendant was allegedly hired to collect
a consumer debt on behalf of Portfolio Asset Group, originally owed to Aspire
Card. n
15. The alleged debt at issue arose out of transactions that were primarily
for personal, family or household purposes
16. On or about October 27, 2009, Defendant sent correspondence to
Plaintiff advising him that he allegedly owed a debt in the amount of $2,187.53.
§_ge_ Exhibit A, the October 27, 2009, correspondence from Defendant.
17. Defendant informed Plaintiff that he needed “to resolve this matter
and prevent any further collection activity....” _S“c§ Exhibit A, the October 27,
2009, correspondence from Defendant.
18. Further_. Det`endant threatened Plaintiff, “IT IS NOT IN YOUR BEST
lNTEREST TO NEGLECT THIS ACCOUNT!” §§ Exhibit A, the October`27,
2009, correspondence from Defendant.
19. Thereatter, Defendant commenced to make a series of numerous
abusive telephone calls to Plaintiff in an attempt to collect the alleged debt.
20. in November 2009 and December 2009, Defendant contacted Plaintiff

at least two (2) times each day, once on his home phone and once on his cell

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PLAIN'I`IFF’S COMPLAINT

 

 

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phone, with some of the calls occurring on Saturdays and Sundays, which were
times inconvenient to Plaintiff.

21. Defendant placed approximately twenty (20) to thirty (30) calls to
Plaintiff.

22. Then, on December 9, 2009, Defendant sent correspondence to
Plaintiff threatening, “If this matter remains unresolved, we will have no other
alternative but to evaluate your credit history and present financial circumstances,
then proceed accordingly.” E Exhibit B, the December 9, 2009, correspondence

23. Further, Defendant threatened, “You now have an extremely
important decision to make. The wrong choice could ultimately be more costly to
you in the future. . . .” w Exhibit B, the December 9, 2009, correspondence

CONSTRUCTION OF APPLICABLE LAW
24. The FDCPA is a strict liability statute Tavlor v. Perrin, Landrv,

deLaunay & Durand, 103 F.3d 1232 (5th Cir. 1997). “Because the Act imposes

 

strict liability, a consumer need not show intentional conduct by the debt collector
to be entitled to damages.” Russell v. Ec|uifax A.R.S., 74 F. 3d 30 (2d Cir. 1996);
see also Gearing v. Check Brokerage Corp., 233 F.3d 469 (7th Cir. 2000) (holding
unintentional misrepresentation of debt collector’s legal status violated FDCPA);

Clornon v. lackson 988 F. 2d 1314 (2d Cir. 1993).

 

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PLAINTIFF’S COMPLAINT

 

 

 

 

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25. The FDCPA is a remedial statute, and therefore must be construed
liberally in favor of the debtor. Sprinkle v. SB&C Ltd., 472 F. Supp. 2d 1235
(W.D. Wash. 2006). The remedial nature of the FDCPA requires that courts
interpret it liberally. Clark v. Capital Credit & Collection Services. lnc., 460 F. 3d
1162 (9th Cir. 2006). “Because the FDCPA, like the Truth in Lending Act (TILA)
15 U.S.C §§ 1601 et Seq., is a remedial statute, it should be construed liberally in

favor of the consumer.” Johnson v. Riddle 305 F. 3d 1107 (10th Cir. 2002).

 

26. The FDCPA is to be interpreted in accordance with the “1east
sophisticated” consumer standard See Jeter v. Credit Bureau, lnc., 760 F.2d 1168
(1 lth Cir. 1985); Graziano v. Harrison, 950 F. 2d 107 (3d Cir. 1991); Swanson v.
Southern Oregon Credit Service, Inc., 869 F.2d 1222 (9th Cir. 1988). The FDCPA
was not “made for the protection of experts, but for the public - that vast multitude
which includes thc ignorant, the unthinking, and the credulous, and the fact that a
false statement may be obviously false to those who are trained and experienced
does not change its character, nor take away its power to deceive others less
experienced.” id_. The least sophisticated consumer standard serves a dual purpose
in that it ensures protection of all consumers, even naive and trusting, against
deceptive collection practices, and protects collectors against liability for bizarre or

idiosyncratic interpretations of collection notices Clomon 988 F. 2d at 1318.

 

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PLAINTIFF’S COMPLAINT

 

 

 

 

 

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_ COUNT I
27. Defendant’s conduct violated the FDCPA in multiple ways, including
but not limited to:

a. Engaging in conduct the natural consequence of which is to harass,
oppress, or abuse Plaintiff in connection with the collection of a
debt, in violation of 15 U.S.C. § 1692d;

b. Causing the telephone to ring repeatedly or continuously with
intent to annoy, abuse or harass Plaintiff, in violation of 15 U.S.C.
§ 1692a(5);`

c. Using false, deceptive, or misleading representations or means in
connection with the collection of any debt, in violation of 15
U.S.C. §1692e;

d. Threatening to take action that cannot legally be taken or that is not
intended to be taken, in violation of 15 U.S.C. § 1692e(5);

e. Using any false representation or deceptive means to collect or
attempt to collect any debt, in violation of 15 U.S.C. § l692e(10);
and

f. Acting_in an otherwise unfair and unconscionable manner to collect

or attempt to collect any debt, in violation of 15 U.S.C. § l692f.

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PLAINTIFF’S COMPLAINT

 

 

 

 

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28. As a result of the above violations of the FDCPA, Defendant is liable
to Plaintiff in the sum of Plaintiff’ s actual damages, statutory damages, and
attorney’s fees and costs.

PRAYER F()R RELIEF

WHEREF()RE, Plaintiff, ALLAN FRANK, respectfully prays for a
judgment as follows:

a. All actual compensatory damages suffered pursuant to 15
U.s.C. § 1692k(a)(1);

b. Statutory damages of $l,000.00 for each violation of the
FDCPA pursuant to 15 U.S.C. § l692l<(a)(2)(A);

c. All reasonable attomeys’ fees, witness fees, court costs and
other litigation costs incurred by Plaintiff pursuant to 15 U.S.C.
§ 1692k(a)(3); and

d. Any other relief deemed appropriate by this Honorable Court.

JURY I)EMANI)

Plaintiff hereby demands a trial by jury on all issues in this action, and any
issues relating to the amount of attorneys’ fees and litigation costs to be awarded

should Plaintiff prevail on any of her claims in this action.

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PLAINTIFF’S COMPLAINT

 

 

 

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DATED: January 8, 2010

RESPECTFULLY SUBMITTED,
ALLAN FRANK,
By his Attomey,

/s/ Kate Shurnal<er
Kate Shurnal<er
Kimmel & Silverman, PC

 

Delaware Offrce:

Silverside Carr Executive Center
Suite 118, 501 Silverside Road
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(302) 791~9373 phone

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PLAINTIFF’ S COMPLAINT

 

 

 

 

